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                              EXHIBIT 3
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10/1/2018                                                                                  Servers.com Is Expanding to Russia

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                                                                                                                                                                 US Markets close in 5 hrs and 25 mins

    S&P 500                           Dow 30                             Nasdaq                               Russell 2000                      Crude Oil                           Gold
    2,934.46                          26,714.18                          8,096.16                             1,697.34                          73.80                               1,190.50
    +20.48 (+0.70%)                   +255.87 (+0.97%)                   +49.81 (+0.62%)                      +0.77 (+0.05%)                    +0.55 (+0.75%)                      -5.70 (-0.48%)




Servers.com Is                                       DALLAS, TEXAS--(Marketwired - Sep 25, 2015) - XBT Holding S.A., the
                                                     parent company of the hosting provider Servers.com, announced the
                                                                                                                                                     Quote Lookup


Expanding to                                         acquisition of the company Edinaya Set', in order to launch the regional
                                                                                                                                                   Recently Viewed

Russia                                               versions of its services.

                                                     The move enables XBT to deploy its solutions to the local market in                                              Your list is empty.
        Marketwired September 25, 2015
                                                     observance of the legal standards of the Russian Federation. As a result,
                                                     customers of the company from Russia and abroad will be able to allocate
                                                     servers in the Russian Federation, in full compliance with and according to
                                                     the Federal Law in regards to the use and storage of Personal Data. This in
                                                     turn will bring unparalleled performance and the low latency network of
                                                     Servers.com to customers in Russia. XBT's unique global private network
                                                     which connects all server infrastructure maintained by the holding's
                                                     subsidiaries, is a significant reason behind the decision for Russia to be the
                                                     next destination. The partnership hints at a deeper integration of services
                                                     which is to follow.

                                                     "We have been looking for a local player which meets our development
                                                     requirements," said Aleksej Gubarev, CEO of XBT Holding. "Edinaya Set' will
                                                     become the base of our international operations in the region by guaranteeing What to Read Next
                                                     better and more diversified services. This successful move will provide our

https://finance.yahoo.com/news/servers-com-expanding-russia-050000657.html                                                                                                                               1/4
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                                                    customers with new opportunities, and will allow us to launch our project,
                                                    Servers.com, in Russia under the brand Servers.ru before the end of 2015."

                                                    Edinaya Set's Managing Director, Sergey Krysenko agrees, "We have, so far,
                                                    been developing our portfolio linearly. It has certainly worked but our newly-
                                                    formed partnership allows us to improve. The experience we have
                                                    accumulated, together with XBT's resources, will ensure that our IT              Syria rebel faction rejects Idlib deal
                                                                                                                                     AFP
                                                    infrastructure will receive a needed optimization."

                                                    The global hosting environment has motivated XBT Holding's management to
                                                    continue the strategic expansion. The emerging markets in Asia have shown
                                                    the importance of a transcontinental connection. Customers from East and
                                                    West seek to broaden their portfolios with additional redundancy and better
                                                    reach. Servers.com now allows for a complete line of services to be utilized,
                                                    from the US to Europe and Asia.

                                                    The deal has been closed on August 25th, and all achieved agreements are         Florida Millionaire Predicts 'Cash Panic' In 2019
                                                    now in effect.                                                                   Stansberry Research Sponsored


                                                    About XBT Holding

                                                    XBT Holding S.A. is a privately-owned global hosting, network solutions and
                                                    web development provider founded in 2005, with offices in 8 countries.
                                                    Worldwide enterprise and SMB customers rely on XBT's international
                                                    expertise and comprehensive service portfolio, including managed dedicated
                                                    hosting, colocation, shared and VPS hosting, high-performance network,
                                                    cloud, web and application development services. The company operates a          Oil Price Fundamental Weekly Forecast –
                                                    worldwide proprietary network through five carrier-neutral datacenters and 13 Anticipated Shortfall Expected to Continue to
                                                                                                                                     Drive Prices Higher
                                                    points of presence in the United States, Europe and Asia, with more than
                                                                                                                                     FX Empire
                                                    16,000 servers throughout seven subsidiaries. XBT Holding partners with
                                                    most major Tier 1 networks to ensure high-speed international connectivity up
                                                    to 2 Tbps. XBT is now one of the fastest-growing companies in the Internet
                                                    infrastructure industry. Visit XBT online at xbt.com.




https://finance.yahoo.com/news/servers-com-expanding-russia-050000657.html                                                                                                        2/4
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                                                                                                                                           North Korea Foreign Minister Says Country
                                                      Today's Highest Yield Savings Accounts Won't Disarm Without Trust                    Time
                                                      Initial Deposit
                                                                                   INSTITUTION           APY   Min. Balance for APY
                                                        $ 25,000
                                                                                   Ally Bank - Savings                                Sp


                                                      Location                                       1.85%              $0
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                                                                                                                                           Three years of Russia strikes on Syria kill
                                                                                                                                           18,000: monitor
                                                                                                                                           AFP




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